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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRCT OF FLORIDA
                                   TAMPA DIVISION

DENNIS GRETTON,

 Plaintiff,
                                                   CASE NO.: 8:18-CV-01356-VMC-CPT
-vs-

DISCOVER PRODUCTS, INC.,

 Defendant.
                                      /

                               NOTICE OF PENDING SETTLEMENT

       Plaintiff, Dennis Gretton, by and through the undersigned counsel, hereby notifies the

Court that the parties have reached a settlement with regard to this case and are presently drafting

and finalizing the settlement agreement, and general release or documents. Upon execution of

the same, the parties will file the appropriate dismissal documents with the Court.

                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished to

Jacqueline A. Simms-Petredis, Esquire; Burr & Forman, LLP; 201 North Franklin Street, Suite

3200, Tampa Florida 33602; jsimms-petredis@burr.com on this 9th day of October, 2018.


                                              /s/ Octavio Gomez
                                               Octavio Gomez, Esquire
                                               Florida Bar No.: 0338620
                                               Morgan & Morgan, Tampa, P.A.
                                               One Tampa City Center
                                               201 N. Franklin Street, 7th Floor
                                               Tampa, Florida 33602
                                               Tele: (813) 223-5505
                                               Fax: (813) 223-5402
                                               Primary Email: TGomez@ForThePeople.com
                                               Secondary Email: LDobbins@ForThePeople.com
                                               Attorney for Plaintiff
